Case 19-04041            Doc 15       Filed 08/14/19 Entered 08/14/19 14:01:01                      Desc Main
                                         Document Page 1 of 1         Page 1 of 1


 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF MINNESOTA
 PDF WITH AUDIO ATTACHMENT

       2019-04041
       Waterbury v. American University of Antigua



       Case Type :                    ap
       Case Number :                  2019-04041
       Case Title :                   Waterbury v. American University of Antigua

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